Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 1 of 16

                          Exhibit 2
           Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 2 of 16




From:
Sent:         Thursday, February 18, 2021 5:19 PM
To:           Racimo, Misty (CRM)
Subject:      Text messages Keith Berman




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                                                                   DOJ-BERMAN_043876
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 3 of 16




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                                                        DOJ-BERMAN_043877
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 4 of 16




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                                                        DOJ-BERMAN_043878
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 5 of 16




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                                                        DOJ-BERMAN_043879
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 6 of 16




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                                                        DOJ-BERMAN_043880
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 7 of 16




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                                                        DOJ-BERMAN_043881
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 8 of 16




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                                                        DOJ-BERMAN_043882
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 9 of 16




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                                                        DOJ-BERMAN_043883
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 10 of 16




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                                                        DOJ-BERMAN_043884
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 11 of 16




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                                                        DOJ-BERMAN_043885
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 12 of 16




                               11
                                                        DOJ-BERMAN_043886
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 13 of 16




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                                                        DOJ-BERMAN_043887
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 14 of 16




                               13
                                                        DOJ-BERMAN_043888
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 15 of 16




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                                                        DOJ-BERMAN_043889
Case 1:20-cr-00278-TNM Document 15-2 Filed 04/06/21 Page 16 of 16




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